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1                                                                         The Honorable Mary Alice Theiler

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8                                IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
9                                            AT SEATTLE

10
      SARAH NAPLIN-RIDLEY,                                     Case No. 2:20-cv-656-MAT
11
                         Plaintiff,                            NOTICE OF SETTLEMENT OF ALL
12                                                             CLAIMS AGAINST ALL PARTIES
              v.
13
      MIDLAND FUNDING, LLC AND SUTTELL
14    AND HAMMER, P.S.,

15                       Defendants.

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17          Notice is hereby given that all claims against all parties in this action have been resolved. Any

18   trials or other hearings in this matter may be stricken from the court calendar. This notice is being filed

19   with the consent of all parties. The parties request 45 days to prepare final documents, including to file

20   a Stipulated Motion for Dismissal with Prejudice and without Costs.

21
            Dated: August 20, 2020
22                                                  HOLLAND & KNIGHT LLP

23                                                  By: s/ David J. Elkanich
                                                    David J. Elkanich, WSBA No. 35956
24                                                  E-mail: david.elkanich@hklaw.com
25                                                  Of Attorneys for Defendant Midland Funding, LLC
26


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